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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
KAREN WORCESTER,                                    CASE NO.: 8:16-cv-00246-SCB-TBM

       Plaintiff,

vs.

OCWEN LOAN SERVICING, LLC,

      Defendant.
__________________________________/

                         PLAINTIFF’S NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, KAREN WORCESTER, by and through her undersigned

counsel, and hereby files this Notice of Settlement, and states that Plaintiff, KAREN

WORCESTER, and Defendant, OCWEN LOAN SERVICING, LLC, have come to an amicable

settlement agreement.

Date: August 26, 2016


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of this Notice has been served by
electronic mail upon all parties and counsel identified on the CM/ECF service list created and
maintained by the Court for this case, on August 26th, 2016.

                                            BOSS LAW

                                            /s/ Christopher W. Boss
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